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                  EXHIBIT 7
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---------- Forwarded message ----------
From: DONOTREPLY@darden.com <Enterprise@trm.brassring.com>
Date: Friday, March 23, 2018
Subject: LongHorn - We Look Forward to Seeing You Soon (Action Needed)
To: drewdesbordes@gmail.com


Congratulations, Drew, and welcome to the LongHorn family! We’re delighted that you’re joining us and look forward to a mutually
productive and rewarding relationship.

To complete the job acceptance process, please click Applicant Information to provide us with your most current personal information. To
help ensure we are prepared for your upcoming orientation, it is important that you complete the New Hire Form as soon as possible.
Please note that this is a secure site and all information is confidential.

We look forward to seeing you soon. Please refer to the attached “Dress & Appearance Guidelines” (below) and come dressed accordingly
when you report for your first day of work. You’ll also need to bring documentation for Employment Eligibility Verification as noted in the
“Lists of Acceptable Documents” (below).

Please don’t hesitate to contact us if you need any additional information or have any questions. Thanks again for choosing LongHorn!

Sincerely,
The Management Team
LongHorn
10845 Medlock Bridge Rd
Johns Creek, GA 30097-1704
770/6227087

*Please do not reply to this email.




Attached Files:
LH_Appearance Poster_170223.pdf
I9 Form List of Acceptable Documents 091417.pdf
